                 Case 22-10602-JKS           Doc 777-1       Filed 09/27/23        Page 1 of 3




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

    In re:                                                Chapter 11

    AGWAY FARM & HOME SUPPLY, LLC,                        Case No. 22-10602 (JKS)

                           Debtor.1

                                                       Objection Deadline: October 18, 2023 at 4:00 p.m. (ET)
                                                              Hearing Date October 19, 2023 at 3:00 p.m. (ET)


    NOTICE OF SECOND QUARTERLY APPLICATION FOR COMPENSATION AND
    REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP
    AS COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
          FOR THE PERIOD JANUARY 1, 2023 THROUGH MARCH 31, 2023

             PLEASE TAKE NOTICE that on September 27, 2023, Pachulski Stang Ziehl & Jones

LLP, Counsel for the Official Committee of Unsecured Creditors (the “Committee”), filed the

Second Quarterly Application for Compensation and Reimbursement of Expenses of Pachulski

Stang Ziehl & Jones LLP, as Counsel for the Official Committee of Unsecured Creditors for the

Period of January 1, 2023 through March 31, 2023 (the “Application”) seeking compensation for

the reasonable and necessary services rendered to the Committee in the amount of $148,224.00

and reimbursement for actual and necessary expenses in the amount of $380.44. A copy of the

Application is attached hereto.

             PLEASE TAKE FURTHER NOTICE that any response or objection to the Application,

if any, must be made in writing and filed with the United States Bankruptcy Court for the District

of Delaware, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801 (the “Court”) on

or before October 18, 2023 at 4:00 p.m. Eastern Time.




1
  The last four digits of the Debtor’s federal tax identification number are 1247. The Debtor’s address is 6606 W.
Broad Street, Richmond, VA 23230.


DOCS_DE:243107.1
              Case 22-10602-JKS       Doc 777-1    Filed 09/27/23    Page 2 of 3




        The Application is submitted pursuant to the Order Establishing Procedures for Interim

Compensation and Reimbursement of Professionals, entered on August 3, 2022 [Docket No. 114]

(the “Administrative Order”).

        PLEASE TAKE FURTHER NOTICE that at the same time, you must also serve a copy

of the response or objection upon: (i) the Debtor: Agway Farm & Home Supply, LLC, 6006 W.

Broad Street, Richmond, Virginia, 23230 (ii) counsel to the Debtor: Morris James LLP, 500

Delaware Avenue, Suite 1500, Wilmington, Delaware, 19801, Attn: Jeffrey R. Waxman

(jwaxman@morrisjames.com), and Brya Keilson (bkielson@morrisjames.com) and Shulman

Bastian Friedman & Bui LLP, 100 Spectrum Center Drive, Suite 600, Irvine, California, 92618,

Attn:      Alan    J.   Friedman   (afriedman@shulmanbastian.com),    Melissa   Davis   Lowe

(mlowe@shulmanbastian.com), and Max Casal (mcasal@shulmanbastian.com); (iii) the Office of

the United States Trustee, 844 King Street, Suite 2207, Lockbox #35, Wilmington, Delaware,

19801, Attn: Richard L. Schepacarter (richard.schepacarter@usdoj.gov); and (iv) counsel to the

Official Committee of Unsecured Creditors, Pachulski Stang Ziehl & Jones LLP, 919 N. Market

Street, 17th Floor, Wilmington, Delaware, 19801, Attn: Bradford J. Sandler, Esq.

(bsandler@pszjlaw.com) and Colin R. Robinson, Esq. (crobinson@pszjlaw.com).

        PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS ARE FILED AND

SERVED IN ACCORDANCE WITH THE ABOVE PROCEDURES, THEN THE FEES AND

EXPENSES REQUESTED IN THE APPLICATION MAY BE PAID PURSUANT TO THE

ADMINISTRATIVE ORDER WITHOUT FURTHER HEARING OR ORDER OF THE COURT.




                                           2
DOCS_DE:243107.1
              Case 22-10602-JKS   Doc 777-1   Filed 09/27/23     Page 3 of 3




        IF A TIMELY OBJECTION IS FILED AND SERVED, A HEARING ON THE

APPLICATION WILL BE HELD ON OCTOBER 19, 2023 AT 3:00 P.M. (PREVAILING

EASTERN TIME) BEFORE THE HONORABLE J. KATE STICKLES IN THE U.S.

BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 NORTH MARKET

STREET, 5TH FLOOR, COURTROOM NO. 6, WILMINGTON, DELAWARE, 19801.



 Dated: September 27, 2023                PACHULSKI STANG ZIEHL & JONES LLP

                                          /s/ Colin R. Robinson
                                          Robert J. Feinstein (admitted pro hac vice)
                                          Bradford J. Sandler (DE Bar No. 4142)
                                          Colin R. Robinson (DE Bar No. 5524)
                                          919 N. Market Street, 17th Floor
                                          Wilmington, DE 19801
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                                          Counsel to the Official Committee of Unsecured
                                          Creditors




                                      3
DOCS_DE:243107.1
